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 7                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 8
     United States of America,                             Case No. 2:22-mj-00883-EJY
 9
                      Plaintiff,                           COMPLAINT for violation of:

            V.                                             Reckless Driving
11                                                         36 C.F.R. § 4.2(b); N.R.S. 484B.653(1);
     TONY ALPHONSO JOHNSON,
12                                                          Speeding
                      Defendant.                            36 C.F.R. § 4.21(c);
13

14
             BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
15
     complainant, being first duly sworn, states that:
16
                                                COUNT ONE
17                                              Reckless Driving
                                   (36 C.F.R. § 4.2(b); N.R.S. 484B.653(1))
18
             That on or about February 7, 2022, in the State and Federal District of Nevada,
19
     within the boundaries of the Lake Mead National Recreation Area,
20
                                      TONY ALPHONSO JOHNSON,
21
     defendant herein, operated a gray 2022 Toyota Corolla bearing Arizona registration
22
     BDA5AG in a willful and wanton disregard of the safety of persons and property, to wit: a
23
     National Park Service Ranger observed JOHNSON traveling northbound on U.S. Highway
24
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    1   93 and tum east onto Lakeshore Road without activating a tum signal; JOHNSON began

    2 traveling at a high rate of speed; the calibrated radar unit in the ranger's patrol vehicle

    3   showed the vehicle was traveling at sixty-two miles per hour in a posted fifty mile per hour

    4   zone; JOHNSON crossed the fog line as he slowed down and approached the entrance

    5   station; JOHNSON sped up after passing the entrance station and crossed the fog line

    6   again; during this face-to-face contact, the ranger noticed JOHNSON's eyes were watery

    7   and bloodshot and he had a calm and relaxed attitude; JOHNSON initially denied

    8   consuming any marijuana but admitted to having a THC pen, which was located in plain

    9   view in the center console; JOHNSON stated that he last used the pen about a couple of

        hours prior when he stopped for gas, around 3:30 PM; JOHNSON admitted that he takes a
11      hit from the pen about six or seven times per day; JOHNSON performed poorly on the
12      Standardized Field Sobriety Tests and the Advanced Roadside Impaired Driving
13      Enforcement Tests; JOHNSON consented to a blood withdrawal; after two attempts, the
14      registered nurse at the Henderson Detention Center was unable to access a vein and conduc
15
        a blood draw due to JOHNSON's poor vein conditions; all in violation of Title 36, Code of
16
        Federal Regulations, Section 4.2(b), and Nevada Revised Statute 484B.653(1).
17
                                                COUNT TWO
                                                  Speeding
18
                                              (36 C.F.R. 4.2l(c))
19
               That on or about February 7, 2022, in the State and Federal District of Nevada,
20
        within the boundaries of the Lake Mead National Recreation Area,
21
                                     TONY ALPHONSO JOHNSON,
22
        defendant herein, operated a gray 2022 Toyota Corolla bearing Arizona registration
23
        BDA5AG at a speed in excess of the speed limit, which is prohibited, to wit: JOHNSON
24

                                                       2
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 1   was observed traveling northbound on U.S. Highway 93 and tum east on Lakeshore Road;

 2   JOHNSON began traveling at a high rate of speed; the calibrated radar unit in the ranger's

 3   patrol vehicle showed the vehicle was traveling at 62 miles per hour in a posted 50 mile per

 4   hour zone; all in violation of Title 36, Code of Federal Regulations, Section 4.21(c).

 5          Complainant, Christopher J. Raynolds, states the following as and for probable cause:

 6          1.       Complainant is a Park Ranger with the National Park Service, Lake Mead

 7   National Recreation Area, Clark County, Nevada, and has been employed as a law

 8   enforcement officer for over 20 years.

 9          2.       The following information is the result of either complainant's own personal

10   investigation or has been provided to me by other law enforcement officers:

11                   (a)    On February 7, 2022, National Park Service Ranger Chevy Johnson

12   was on routine patrol within the boundaries of the Lake Mead National Recreation Area,

13   Clark County, Nevada.

14                   (b)    At about 6:23 PM, while traveling northbound on U.S. Highway 93,

15   Ranger Johnson observed a gray 2022 Toyota Corolla bearing Arizona registration

16   BDA5AG traveling northbound on U.S. Highway 93 and then tum east onto Lakeshore

17   Road without activating a tum signal. The vehicle began traveling at a high rate of speed.

18   The calibrated radar unit in the ranger's patrol vehicle showed the vehicle was traveling at

19   sixty-two miles per hour in a posted fifty mile per hour zone. The vehicle crossed the fog

20   line as it slowed down and approached the entrance station. The vehicle sped up after

21   passing the entrance station and crossed the fog line again.

22                   (c)    Ranger Johnson initiated a traffic stop using his emergency lights and

23   sirens and made contact with the operator who was identified as TONY ALPHONSO

24   JOHNSON from his Florida driver's license.

                                                    3
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 1                   (d)   During this face-to-face contact with JOHNSON, Ranger Johnson

 2 noticed JOHNSON's eyes were watery and bloodshot. JOHNSON initially denied

 3   consuming any marijuana but admitted to having a THC pen, which was located in plain

 4   view in the center console. JOHNSON stated that he last used the pen about a couple of

 5   hours prior when he stopped for gas, around 3:30 PM. JOHNSON admitted that he takes a

 6   hit from the pen about six or seven times per day. JOHNSON had a calm and relaxed

 7   attitude.

 8                   (e)   The following are the results of Field Sobriety Tests administered to

 9   JOHNSON by National Park Service Ranger Johnson:

10                         1.     Horizontal Gaze Nystagmus test: JOHNSON's eyes displayed
11   no clues.
12                         2.     Walk and Tum test: JOHNSON stopped while walking,
13   stepped off the line and missed heel-to-toe.
14                         3.     One Leg Stand Test: JOHNSON swayed while balancing.
15                         4.     Preliminary breath test (PBT): This test was not conducted.
16                   (f)   Ranger Johnson conducted the Advanced Roadside Impaired Driving
17   Enforcement (ARIDE) Tests. The following are the results of the ARIDE Tests
18
     administered to JOHNSON:
19
                           1.     Lack of Convergence Test: JOHNSON's eyes displayed a lack
20
     of convergence.
21
                           2.     Modified Romberg Balance Test: JOHNSON estimated 30
22
     seconds in 53 seconds. JOHNSON swayed two inches side-to-side and one inch front-to-
23

24


                                                    4
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 I   back. JOHNSON eyelids and body displayed tremors which can be indicative of marijuana

 2   use.

 3                         3.    Finger to Nose Test: JOHNSON missed the tip of his nose two

 4   times and double-touched his nose one time.

 5                   (g)   Based on Ranger Weltzer's training and experience, JOHNSON's

 6   physical and objective symptoms of intoxication, and performance on the Standardized

 7   Field Sobriety Tests and Advanced Roadside Impaired Driving Enforcement (ARIDE)

 8   Tests, Ranger Johnson formed the opinion that JOHNSON had been operating a motor

 9   vehicle while under the influence of a drug and placed JOHNSON under arrest.

IO                   (h)   JOHNSON was transported to Henderson Detention Center (HDC)

11   where he consented to a blood withdrawal. After two attempts, the registered nurse at HDC

12   was unable to access a vein due to JOHNSON's poor vein conditions. A blood draw was

13   not obtained.
14



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16
                                               National Park Service
17

18
     SUBSCRIBED and SWORN to before me
19
     this   lo--t,f"'\ day ofNovember, 2022.
20

21

22

23   UNITED STATES MAGISTRATE JUDGE

24


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